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1
     Browne Greene, SBN 38441
     GREENE BROILLET & WHEELER, LLP
2    222 N. Pacific Coast Highway, Suite 2100
3    P.O. Box 955
     El Segundo, California 90245
4    Telephone: (310) 576-1200
5    Facsimile: (310) 576-1220
     Email: bgreene@gbw.law
6

7    Daniel K. Balaban, SBN 243652
     BALABAN & SPIELBERGER, LLP
8    11999 San Vicente Blvd., Suite 345
9    Los Angeles, California 90049
     Telephone: (424) 832-7677
10   Facsimile: (424) 832-7702
11   Email: daniel@dbaslaw.com

12   Joseph G. Dicks, SBN 127362
13   Linda G. Workman, SBN 128621
     DICKS & WORKMAN ATTORNEYS AT LAW, APC
14   7825 Fay Avenue, Suite 120
15   La Jolla, California 92037
     Telephone: (619) 685-6800
16   Facsimile: (619) 557-2735
17   Email: jdicks@dicks-workmanlaw.com; lworkman@dicks-workmanlaw.com
18   Holly N. Boyer (SBN 221788)
19   Shea S. Murphy (SBN 255554)
     ESNER, CHANG & BOYER
20   234 East Colorado Boulevard, Suite 750
21   Pasadena, California 91101
     Telephone: (626) 535-9860
22   Facsimile: (626) 535-9859
23   Email: hboyer@ecbappeal.com; smurphy@ecbappeal.com
24
     Attorneys for MICKAIL MYLES, Plaintiff
25

26
                       UNITED STATES DISTRICT COURT
27
                    SOUTHERN DISTRICT OF CALIFORNIA
28

     MEMORANDUM OF POINTS AND                         Myles v. County of San Diego, et al.
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     MICKAIL MYLES, an individual,        Case No. 15-cv-1985-JAH (BLM)
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                Plaintiff,
2
                                           MEMORANDUM OF POINTS
     v.                                    AND AUTHORITIES IN
3
                                           SUPPORT OF PLAINTIFF’S
     COUNTY OF SAN DIEGO, by and           MOTION FOR SANCTIONS
4    through the SAN DIEGO COUNTY
     SHERIFF’S DEPARTMENT, a public        [REDACTED – PUBLIC
5    entity; and DEPUTY J. BANKS,          VERSION]
     an individual,
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                                           Judge: Hon. John A. Houston
                Defendants.                Magistrate: Hon. Barbara Lynn Major
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8                                          Complaint Filed: September 4, 2015
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1       I. INTRODUCTION
2          Since this Court entered sanctions against Defendants just over one month
3    ago, Plaintiff has learned once again that more egregious discovery abuses by the
4    County of San Diego and Deputy Banks have still been on ongoing. Despite the
5    meet and confer efforts made by Plaintiff to curtail these practices, and despite
6    this Court’s recent sanctions order, Defendants continue to abuse the discovery
7    process and suppress evidence, with the obvious goal of creating an incomplete
8    factual record which Defendants can then exploit during trial, as they did with
9    summary judgment. In response, Plaintiff reinstates his request to this Court to
10   grant terminating sanctions in the form of a directed verdict on liability as to all
11   claims and causes of action against Defendants, or, in the alternative, instruct the
12   jury on Defendants’ willful failure to disclose information during discovery.
13      II. DEFENDANTS’ PRIOR AND ONGIONG DISCOVERY ABUSES
14         As detailed in Plaintiff’s first motion for sanctions, Defendants’ efforts to
15   conceal the wrongdoing of Deputy Banks, and the County of San Diego itself,
16   has been considerable. To begin with, in 2016, Plaintiff learned through a series
17   of internet searches that Defendants had withheld responsive evidence relating to
18   a number of excessive force incidents involving Deputy Banks, including the
19   2013 homicide of Hugo Barragan (wherein Banks allowed his K9 to chew the
20   ear off of Mr. Barragan while Barragan was hog-tied with the K9’s leash), as
21   well as Deputy Banks’ 2015 chokehold and tasing of a 13 year old skateboarder
22   (which a witness recorded and uploaded to YouTube, where it went viral). After
23   meeting and conferring extensively with County Counsel, and moving to compel,
24   Plaintiff was provided with previously undisclosed evidence of Banks’ uses of
25   force as to those incidents, as well as assurances from Defendants’ counsel that
26   such an omission would not occur again.
27         Based on these representations, Plaintiff was led to believe that
28   Defendants’ failure to disclose this evidence was the result of anomalous error,
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1    and that Defendants would thereafter take their Rule 26 discovery duties
2    seriously. As such, Plaintiff did not elect to pursue sanctions at that time.
3    Meanwhile, Defendants won their opposition to Plaintiff’s motion to add head
4    Sheriff William Gore as a defendant and won their motion for summary
5    judgment on Plaintiff’s Monell claim.
6          Nevertheless, in early June 2022, Plaintiff discovered by yet another
7    internet search that Defendants were again withholding evidence regarding the
8    aggressive tendencies and general unfitness of the K-9 “Bubo,” based in part on
9    Bubo’s July 2015 bite of K9 handler Deputy Trent Stroh and failure to document
10   same, which was required to be disclosed pursuant to FRCP Rule 26.
11         After learning of Defendants’ ongoing willful refusal to turn over required
12   discovery, Plaintiff sought and was given leave from this Court to file a motion
13   for sanctions. Remarkably, however, during the meet and confer process for that
14   first sanctions motion, it became clear that Defendants had been withholding
15   evidence of complaints made to the Sheriff’s Department Internal Affairs Unit
16   by Erin Valdez regarding excessive use of force by Deputy Banks. Despite
17   pending discovery requests, and their duty to disclose under Rule 26, the County
18   had categorically denied receiving the Valdez complaints (let alone that they
19   prompted an IA investigation).
20         After hearing Plaintiff’s first sanctions motion in July 2022, this Court
21   entered sanctions against Defendants, which included the reinstatement of
22   Plaintiff’s Monell claim against the County. But Defendants’ abusive conduct
23   did not end with these sanctions; far from it. Defendants have again been
24   revealed to be willfully refusing to turn over highly relevant and damning
25   discovery that they were required to turn over under Rule 26. Specifically, the
26   following has been revealed:
27         On July 19, 2022, the parties exchanged trial exhibits as ordered by this
28   Court in advance of trial which, at that time, was scheduled to begin on July 25,
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1    2022. While Defendants have not yet produced a complete set of trial exhibits, a
2    number of the trial exhibits that Defendants did produce contained evidence
3    which had not been previously identified or produced by Defendants in response
4    to Plaintiff’s discovery requests, were not previously produced by Defendants in
5    supplemental disclosures under Rule 26, and were not disclosed in any of the
6    four privilege logs previously served by Defendants.
7          While Plaintiff and his police practices expert have not had sufficient time
8    to conduct a complete review of Defendants’ July 19, 2022 exhibit production, of
9    immediate concern are three private investigator reports that were included:
10         1. A report to the County dated April 7, 2016, by private investigator
11            Robert Abel and marked as Defendants’ Exhibit 1066, summarizing his
12            in-person taking of a follow-up recorded statement of Stephne Sales on
13            March 18, 2016, wherein – per PI Abel -- Mrs. Sales “denied the key
14            point attributed to her in the Sheriffs’ reports: that she identified – to
15            the on-scene deputies” the Myles’ vehicle as being the one involved in
16            the doorbell ditch activity that neighbors had complained about;
17         2. A seven-page report to the County dated October 21, 2016, by private
18            investigator Mark Horne marked as Defendants’ Exhibit 1058,
19            summarizing over twelve hours of surveillance by a four investigator
20            team assigned to monitor Plaintiff and his attorneys on October 19,
21            2016, the date of the Mandatory Settlement Conference in this case;
22         3. A follow up report by PI Horne dated October 28, 2016, marked as
23            Defendants’ Exhibit 1021, containing surveillance photos and a link to
24            over an hour of video recording of Plaintiff and his attorneys from 8:36
25            a.m. to 9:16 pm on the date of the MSC.
26         Two of these reports (Defendants’ Exhibits 1021 and 1066) were
27   forwarded by the County in January 2017 to Defendants’ outside counsel at the
28   Manning law firm, including lead trial counsel Mildred O’Linn. And Defendants
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1    for “[a]ny and all DOCUMENTS that refer, relate to or otherwise evidence any
2    and all investigations into alleged on the job wrongdoings by DEPUTY BANKS
3    or any of the other deputies or supervisors responding to the INCIDENT, from
4    the date of his initial hire to the present, including all internal e-mail,
5    memorandum or other internal communications relating thereto”, these reports
6    were not previously produced in discovery, not listed on any of Defendants’
7    privilege logs 2, and were not disclosed under Rule 26 even during meet and
8    confer efforts during the pendency of Plaintiff’s June 2022 sanctions motion.
9           Furthermore, the very existence of the March 6, 2015 incident (alternately
10   cited as March 17, 2015, elsewhere in the CIRB report) had never been disclosed
11   to Plaintiff before, and illustrates a pattern of force used by Deputy Banks
12   against young males of color.
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17          This was not the only additional use of force incident that Defendants hid
18   from Plaintiff during discovery and throughout the pendency of Plaintiff’s first
19   sanctions motion.
20          On August 6, 2022, County Counsel Ronald Lenert emailed Plaintiff’s
21   counsel late that Saturday afternoon to disclose for the very first time that “an
22   additional confirmation search was made within the Sheriff’s Department” such
23   that attorney Lenert was informed the day before about an additional IA
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      Defendants’ August 12, 2022 claims of privilege and work product as to the
     CIRB reports are unfounded. See Estate of Silva by and through Allen v. City of
26   San Diego, 2020 WL 6741680; see also Medina v. County of San Diego, 2014
     WL 4793026. In fact, to the extent that any such claim of privilege existed, it
27   was waived by Defendants’ failure to identify any such reports in its five
     privilege logs. See Medina, supra at pp. 11-12. Similarly, Defendants’ August 3-
28   4, 2022 claims of privilege and work product as to its private investigator reports
     are also waived for the same reason.
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1    investigation relating to Defendant Banks. Though no signed verification was
2    provided, attached to attorney Lenert’s email were 110 pages of IA investigation
3    materials initiated by a February 18, 2017 citizen email regarding a use of force
4    by Defendant Banks on a 21-year-old Hispanic pedestrian named Amadeus
5    Lopez.
6          The February 18, 2017 citizen complaint was made by a motorist-witness
7    who emailed the San Diego Sheriff Department within an hour of witnessing the
8    use of excessive force by Deputy Banks.
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19         Clearly, both the February 18, 2017 Lopez use of force incident, and the
20   March 16, 2015 use of force incident, should have been disclosed to Plaintiff
21   under Rule 26 many years earlier. Defendants’ failure to disclose these incidents,
22   even throughout the pendency of Plaintiff’s June 2022 sanctions motion, further
23   proves the willfulness of the Defendants’ abusive conduct in this litigation.
24      III.   DEFENDANTS’ REPEATED ABUSES JUSTIFY
25             TERMINATING SANCTIONS
26         Despite the fact that this case has now been pending for seven years, and
27   that Defendants have been under an ongoing obligation to respond to and update
28   discovery requests propounded by Plaintiff, there is little about the evidentiary
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1    record that can be said with any measure of confidence. In fact, the only thing
2    that can be said with certainty is that Defendants have proven themselves to be
3    willfully (and even recklessly) duplicitous throughout the pendency of the
4    lawsuit, thus denying Plaintiff timely access to the relevant evidence which he
5    needs, and to which he is lawfully entitled, in order to prove up his claims. As
6    recently as last week, Defendants’ pattern of willfully concealing evidence from
7    Plaintiff was once again revealed, which begs the question: given the number of
8    times Defendants have been caught concealing evidence, what other evidence of
9    Defendants’ wrongdoing exists that Defendants are still suppressing?
10         But, beyond the very real possibility of an incomplete evidentiary record,
11   even assuming hypothetically that last week’s big Lopez reveal constitutes a
12   complete disclosure of all discoverable evidence, how is Plaintiff to be expected
13   to review this evidence and conduct any additional discovery or investigation
14   before trial is set to begin? And more fundamentally, to what extent has this case
15   already been indelibly shaped by the clear duplicity of Defendants and their
16   counsel?
17         In light of these issues, Plaintiff now requests sanctions in the following
18   form. First, Plaintiff requests an order entering judgment on liability against
19   Defendants on Plaintiff’s claims. This is an especially appropriate sanction for
20   the County for liability under Plaintiff’s recently reinstated Monell claim given
21   that the County’s continued unwillingness to produce discovery responses
22   confirms the existence of misconduct substantiating liability under Monell.
23   Alternatively, Plaintiff seeks sanction in the form of a jury instruction on the
24   County’s willful failure to disclose information during discovery, as was done in
25   K.J.P., et al. v. County of San Diego/Fischer 15-cv-02692-H-MDD.
26         Under Federal Rule of Civil Procedure Rule 37, a failure to propound
27   responses to discovery requests may warrant the imposition of a wide range of
28   sanctions. The court may even impose terminating sanctions where the failure to
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1    respond to discovery requests is willful or bad faith unwillingness. See Sanchez
2    v. Rodriguez (C.D. Cal. 2014) 298 F.R.D. 460, 463. Willfulness and bad faith
3    “does not require wrongful intent; rather, disobedient conduct not shown to be
4    outside the party's control is by itself sufficient to establish willfulness, bad faith,
5    or fault. … (quoting Jorgensen, 320 F.3d at 912, and citing Henry, 983 F.2d at
6    948); see also Hyde & Drath v. Baker, 24 F.3d 1162, 1167 (9th Cir.1994) (citing
7    Henry, 983 F.2d at 948).” Id. at 463.
8          Here, given that Defendants were subject to sanction by this Court for
9    their failure to complete and update their discovery responses just one month
10   ago, the fact that Defendants have again been found not to be disclosing highly
11   relevant materials regarding not only Deputy Banks’ misconduct, but the
12   County’s pattern of sweeping Banks’ acts of misconduct under the rug,
13   demonstrates willfulness. See Sanchez, 298 F.R.D. at 470-71. Indeed, the fact
14   that the County has refused to turn over evidence of Banks’ misconduct only
15   serves as compelling evidence that the County is engaged in conduct sufficient to
16   support Monell liability.
17         In addition to finding willfulness, bad faith, or fault, before case-
18   dispositive sanctions may be ordered per Rule 37, “a court must consider and
19   weigh the following five factors: (1) the public interest in expeditious resolution
20   of litigation; (2) the court's need to manage its dockets; (3) the risk of prejudice
21   to the party seeking sanctions; (4) the public policy favoring disposition of cases
22   on the merits; and (5) the availability of less drastic sanctions. See, e.g.,
23   Connecticut General, 482 F.3d at 1096; Henry, 983 F.2d at 948.” Sanchez, 298
24   F.R.D. at 469–470; see Valley Eng'rs, Inc. v. Elec. Eng'g Co., 158 F.3d 1051,
25   1057 (9th Cir.1998).
26         Here, all the factors weigh heavily in favor of a sanctions order entering
27   liability against Defendants on Plaintiff’s claims. See Sanchez, 298 F.R.D. at
28   472-473. Broadly speaking, Defendants’ ongoing unwillingness to meet its
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1    discovery requirements has now, after seven years, immutably compromised
2    Plaintiff’s ability to avail himself of the rights he has been granted under law.
3    Indeed, beyond the copious resources that have been squandered on Defendants’
4    cover-up practices, it is now no longer possible for Plaintiff to have a fair
5    opportunity to fully present his case at trial. The net effect on Plaintiff of having
6    been denied the discovery and additional discovery opportunities that resulted
7    from Defendants’ repeated and willful suppression of evidence is so prejudicial
8    that a fair trial is impossible. See Hyde & Drath v. Baker, 24 F.3d 1162, 1166-
9    1167 (9th Cir. 1994), citing United States ex rel. Wiltec Guam. Inc. v. Kahaluu
10   Const. Co., 857 F.2d 600, 604 (9th Cir. 1988.) Thus, Plaintiff reinstates his
11   request to this Court to grant terminating sanctions in the form of a directed
12   verdict on liability as to all claims and causes of action.
13         Alternatively, Plaintiff also requests that if this Court decides not to
14   impose terminating sanctions, a jury admonition be given on Defendants’ willful
15   failure to disclose information in discovery.
16      IV.    CONCLUSION
17         In light of the facts and for the reasons set forth above, the Court should
18   issue the following sanctions:
19      1. A directed verdict for Plaintiff as against Defendants as to liability on all
20         claims and causes of action;
21      2. A strike of the answer and all affirmative defenses of Defendants; and
22      3. Instructions to the Jury on Defendants’ willful failure to disclose
23         information in discovery, as was done in K.J.P., et al. v. County of San
24         Diego/Fischer 15-cv-02692-H-MDD.
25   Dated: August 15, 2022                       DICKS & WORKMAN ATTORNEYS
                                                  AT LAW, APC
26

27
                                            By:     /s/ Joseph G. Dicks
                                                  Joseph G. Dicks
28                                                Attorneys for Mickail Myles, Plaintiff
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